 Case 24-13349-MEH         Doc 56     Filed 05/21/25 Entered 05/21/25 16:11:33             Desc Main
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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                     Order Filed on May 21, 2025
    Roger Chavez, Esq. (RC4040)                                      by Clerk
    Robert Treat Center                                              U.S. Bankruptcy Court
                                                                     District of New Jersey
    50 Park Street, Suite 1104
    Newark, NJ 07102
    (973) 735-0530
    Attorney for Debtor, Aida L. Obredor

    In Re:                                                    Case No.: 24-13349

    AIDA L. OBREDOR,                                          Chapter 13

                                                              Hearing Date: 5/21/25
    Debtor.



  ORDER VACATING ORDER GRANTING STAY RELIEF, DATED JANUARY 23, 2025


  The relief set forth on the following pages, numbered two (2) through two (2) is hereby
  ORDERED.




DATED: May 21, 2025
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Debtor:      AIDA L. OBREDOR
Chapter 13 |Case No. 24-13349
Caption of Order: ORDER VACATING ORDER GRANTING STAY RELIEF, DATED
                  JANUARY 23, 2025
______________________________________________________________________________

        This matter having being opened to the Court by Roger Chavez, attorney for Debtor, Aida

L. Obredor, upon the filing of a Motion to Vacate the Order Granting Stay Relief, dated January

23, 2025; and copies of said Motion having been served upon the Office of the U.S. Trustee, the

Chapter 13 Standing Trustee, Nationstar Mortgage, LLC and its attorneys, Gross Polowy, LLC;

and upon consideration of the Certification of Debtor’s Counsel in Support of the within Motion;

and it appearing that the relief requested in the Motion is warranted:



       IT IS ORDERED that the Order Granting Stay Relief in favor of Nationstar Mortgage

LLC, dated January 23, 2025, is hereby vacated.



       IT IS FURTHER ORDERED that the Automatic Stay, as to the Debtor’s realty located

at 206 E. 22nd Street, Paterson, New Jersey, is hereby reinstated.



       IT IS FURTHER ORDERED that the debtor shall file a revised plan by June 4, 2025.



IT IS SO ORDERED, ADJUDGED AND DECREED.




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